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                       EXHIBIT G
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                                     17
    "EXHIBIT G" - 1


   Subject: Re: PDF copies of doc
   From: Andrew Schober
   Date: 6/5/19, 11:35 PM
   To: "Hitchcock, Kiersten E. (DN) (FBI)" <kehitchcock@fbi.gov>
   CC: "Clayton, Joel" <joel.clayton@westyorkshire.pnn.police.uk>

  Thanks for the update. Sad to hear Github info was not more helpful.

  I'm still fighting, I hope you will continue to fight for me also.

  I see that the sulaiman.h500 Cryptocompare.com profile has been banned, I presume they did that
  because you contacted them. It had been active for 16 months, would be strange if they banned it
  for no reason.

  The other Cryptocompare.com profile (janders6) that linked to the malware is still active. That post
  is from Nov. 13, 2017 - they may have useful information, if you haven't contacted them about that
  account yet.

       • CryptoCompare.com
             ◦ email address info@cryptocompare.com

              ◦ account usernames janders6



  Other avenues to pursue thief:

  janders6 BitcoinTalk.org profile - the admin of this forum, Theymos, told me he would release the
  account information upon receipt of an email from a valid law enforcement email address.

       • BitcoinTalk.org
             ◦ email address theymos@mm.st

              ◦ account username janders6

  Please also remember, I was not the only victim of this malware - the blockchain analysis shows 3
  other thefts occurred in Nov & Dec 2017. The same thief made a deposit at Bifinex, to address
  1Gqt6RTk7bj9hg6wD3rPM51HsFEQHcrGsc on November 21, 2017 (from the Nov. 14
  theft). If you haven't followed that lead yet:

       • Bitfinex
              ◦ email address inforequests@bitfinex.com
              ◦ please request all account information & transaction history of deposit
                address 1Gqt6RTk7bj9hg6wD3rPM51HsFEQHcrGs


  I compiled a table of all known email addresses, IP addresses, and usernames I could find for both
  Oliver Read & Benedict Thompson - perhaps these will be valuable to you. Maybe one of the
  usernames listed here matches the username for the Bitfinex accounts?

  Please also see the Benedict Thompson doc - a gaming friend of Oliver Read, he made a highly
  suspect comment on the day of the theft, described exactly how the malware works, trades at
  Bitfinex, codes Bitcoin programs, etc - that leads me to believe he is involved.

  Thank you for you help!



                                                                                           SCHOBER_000870
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                                     17
    "EXHIBIT G" - 2


  Andrew S


  On Wed, Jun 5, 2019 at 6:39 PM Hitchcock, Kiersten E. (DN) (FBI)
  <kehitchcock@fbi.gov> wrote:

    Andrew,



    Thank you for the recent emails, I cc’d Det. Constable Clayton also. I am sharing everything I have with
    UK authorities and an Analyst here is looking through what you sent the past few weeks. I have been
    tied up the last 3 weeks with several other pressing/time sensitive cases and am in training next week.
    I do know that Github did not have the information we had hoped, it was all older information that
    was not as helpful as we had hoped for. I hope to have more information in a few weeks on what you
    sent recently and if that is something that the UK can utilize or not in moving forward on their end.



    Kiersten



    Special Agent Kiersten E. Hitchcock

    Federal Bureau of Investigation

    Fort Collins - Loveland Resident Agency

    970-461-5274 (Desk)

    970-461-5262 (Fax)



    From: Andrew Schober [mailto:                       ]
    Sent: Tuesday, June 04, 2019 2:21 PM
    To: Hitchcock, Kiersten E. (DN) (FBI) <kehitchcock@fbi.gov>
    Subject: PDF copies of doc



    Hi Kiersten,

    I've attached pdf copies of the recent docs I sent via email.

    Please read the Ben Thompson doc - especially see the comments he made on &
    around the day of the theft.

    Can you give me an update on what's been happening of late?



    Best,



                                                                                               SCHOBER_000871
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             "EXHIBIT G" - 3                                             - 1 of 2 -                                                                  OFFICIAL RECORD
FD-302 (Rev. 5-8-10)                                                                                                                                 Document participants have digitally signed.
                                                                                                                                                     All signatures have been verified by a
                                                                                                                                                     certified FBI inf0ffl1ation system

                                                  FEDERAL BUREAU OF INVESTIGATION


                                                                                                                            Date of entry        02/13/2019

              COMMITTEE ON FOREIGN INVESTMENT IN THE UNITED STATES INFORMATION
This document contains information obtained from or for the Committee on Foreign
Investment in the United States. The information is confidential and exempt from the
Freedom of Information Act. It may not be publicly disclosed or disseminated outside
the U.S. Government. It may not be used in a criminal investigation without prior
written approval from the Department of Justice.



              Between April 4, 2018 and June 22, 2018, Special Agent Kiersten E
           Hitchcock had contact via email and a telephone conversation with Stephen
           Sargeant, email address•••••••••■■■■••••■ Bitfinex.                SA
           Hitchcock served a preservation request to Bitfinex and subsequently was
           emailed deliverables for one of the bitcoin addresses which was connected
           to a Bitfinex user.   The other bitcoin address did not have any
           information provided.   SA Hitchcock re-contacted Sargeant after receiving
           the files to advise that she had not sent a court order and Sargeant
           advised that what was provided was acceptable given the preservation
           request.

              A review of the file showed the following information for the user
           thp2pk (more detail in the lA):

           Username thp2pk
           Full Name n/a
           Account Type Individual
           Email thp2pk@protonmail.com
           Status Unverified
           Phone# n/a
           ID 2144724
           Address: n/a
           Nationality n/a

           Crypto-currency deposit addresses associated with this user
           Currency Deposit Address UTC Date & Time Created

           BITCOIN 3CWQ5d2XgCrYuz7F3g4fmhd6VQMv4iPio7 18-02-23 14:48:45




   Investigationon     06/22/2018           at   Loveland, Colorado, United States (Email, Phone)

   File#   288A-DN-2591713                                                                                                   Datedrafted      02/12/2019
   ~    Kiersten E. Hitchcock
  This document contains neither recommendations nor conclusions of the FBI. It is the property of the FBI and is loaned to your agency; it and its contents are not
  to be distributed outside your agency.                                                                                     SCHOBER_003039
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                                             17
            "EXHIBIT G" - 4
FD-302a(Rev. 05-08-10)


         288A-DN-2591713
ContinuationofFD-302of (U)   Bitfinex documents                      06/22/2018          2 of 2
                     - - - - - - - - - - - - - - - - - - - - - ,On   _ _ _ _ _ _ ,Page




         The balance shows $0.00 with all transactions occurring on 2/25/2018 and a
         starting balance of 1.274 bitcoin. There were 110 transactions on 2/25
         /2018 for this account.

         The following are the deposits and withdrawals for this account:

         XMR 2018-02-25 18:07:53 2018-02-26 16:41:45 COMPLETED -524.9808118
         44nUbfxaFUC42KHPm4sSy4KLVeGsHjcgHVJwlqDBpx6EZvqN9iyCpZL6ajMV2ddYPA4JhzP2E6aE


         BTC 2018-02-25 17:55:48 2018-02-25 18:01:48 COMPLETED 15.18046997
         3CWQ5d2XgCrYuz7F3g4fmhd6VQMv4iPio7


         XMR 2018-02-25 17:34:32 2018-02-25 21:19:45 COMPLETED -44.57235087
         44nUbfxaFUC42KHPm4sSy4KLVeGsHjcgHVJwlqDBpx6EZvqN9iyCpZL6ajMV2ddYPA4JhzP2E6aE


         BTC 2018-02-25 16:23:49 2018-02-25 16:41:48 COMPLETED 1.274
         3CWQ5d2XgCrYuz7F3g4fmhd6VQMv4iPio7

         Username Time              IP
         thp2pk 2018-02-25 15:23:06 86.158.130.34
         thp2pk 2018-02-25 12:31:07 86.158.130.34
         thp2pk 2018-02-25 11:11:33 86.158.130.34

         IP First Used                Location        User Agent
         2018-02-25 11:11:33          Southampton, GB Windows 7, Firefox, 52.0
         2018-02-25 11:11:33          Southampton, GB Windows 7, Firefox, 52.0
         2018-02-25 11:11:33          Southampton, GB Windows 7, Firefox, 52.0




                                                                          SCHOBER_003040
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     "EXHIBIT G" - 5

Research Template Column Headers                                                                  Description
Transaction Activity:Queried         Transactional data point provided in subpoena and/or discovered transactional data
                     Result          Hit- a transaction or transactions have been found using this data point None- no transaction was found using the data point
                     userId          Unique internal customer ID
                     orderId         Unique internal ID for exchange requests
                     address         The cryptocurrency address provided by and owned by ShapeShift for initial deposit from the customer to complete the requested exchange
                     amount          The amount deposited by the customer for their exchange (in currencyIn type)
                     coinToUser      The amount sent, or in cases of exchange failure, returned to the customer for their exchange (in currencyOut type)
                     currencyIn      An acronym for the cryptocurrency deposited to ShapeShift
                     currencyOut     An acronym for the cryptocurrency sent to the customer
                     ip              The IP address collected during the exchange order creation
                     isFromSite      true- The customer created the exchange on ShapeShift.com or mobile ShapeShift appfalse- The customer created the exchange through an affiliate integrated with our API
                     Affiliate       If applicable, the name of the affiliate where the exchange was completed
                     Contact         The contact information associated with the affiliate
                     time            Unix time format when the deposit was received from the customer to ShapeShift
                     txid            The transaction identifier for the deposit received by ShapeShift from the customer
                     txid            The transaction identifier for the withdrawal sent to the customer by ShapeShift
                     withdraw        The address provided by the customer for receiving the cryptocurrency withdrawal from their exchange
                     returnAddress   The address provided by the customer for receiving a refund of the deposited cryptocurrency if the trade were to fail
                     raw data        raw JSON data from our system about each transaction, may contain IP addresses collected during the exchange

Membership Activity:Action           Identifies the completed action
                   Created At        Unix time format when the action was completed
                   Context           raw JSON data collected about the action completed, will include details regarding IP address and associated OS details
                   Entity            Identifies the user
                   Actor             Identifies the email address for the entity creating the action, customer or employee
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          "EXHIBIT G" - 6

OrderID                 Deposit address                 amountIn    amountOut currencyIn currencyOut IP                           IsFromSit API         Affiliate Received time txid              txidOfCoinToUser      Output address                       Return Address
                                                                                                                                  e         Affiliate   Contact
6ea31bb8-cee6-4654-ac02- 3HbANjJRUw8GdK16Xk572qKDar     0.1008268   3.62709924 BTC       XMR         77.111.244.17                  TRUE none           none      1515613413    8114fc68c9fed9c   a3f0a9a1b9835a7751a5a3d 46uKqypoMZFFURWJd1H8z5fFwrUHES2PgH 1JrT4DePAThEHarvEiYyRu2x2anhMC
8040ffbe3970             AV4Hy17H                                                                                                                                               67a598bc44ccc4    6b63a4df917520a4ea78844 UUQ7b4mSQW2LBCg67S3fqdZ4asfaRcHj115 soPr
                                                                                                                                                                                010f7d9132c6be    23dfab579af7d80b2d      TMTepHyxT9zYCRJR9pkAuZnNEY
                                                                                                                                                                                3667103d80fda4
                                                                                                                                                                                43dff32




ee83b5c7-eb3f-4544-a71d- d75bc06e69fd942085d4742bf8be87 3.6         0.09756655 XMR       BTC         86.183.219.107, 162.158.88.162 TRUE     none       none    1515615389     7fd77098227496 85926943b288d99fa6ae697 1BeNEdictBLbmVJ9LXkSwqiyWWf36XKTD1     44nUbfxaFUC42KHPm4sSy4KLVeGs
7adb4e0eaeea             d036018eb2062188dbcc989de381d                                                                                                                         0dd8613b9d6ea9 1fe525a0af7e0da801c9009f                                       HjcgHVJw1qDBpx6EZvqN9iyCpZL6aj
                         e8e7c                                                                                                                                                 efd559c1265a60c f27e4dbd26489d37d                                             MV2ddYPA4JhzP2E6a63JVasFkfGu6
                                                                                                                                                                               6da82731434848                                                                BGWv723i
                                                                                                                                                                               6fb91f2
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                                            17
           "EXHIBIT G" - 7

 Ed THOMPSON

 From :                              rcf Tllompso11 <tho111pso11 ed@u,nail.com>
 Sent:                               ? 7 Dece111be1 20 17 09. 18
 To:                                 [ d Tl IOMPSON
Subject:                             13c11 l hompson trail
Attachments:                         t,ade.csv



The attached screenshots provides eviden ce for the ownership of a small abou t of Bitcoin for Ben. It also
                                                                                                            evidences
how the Bitcoin grew and how he traded the coin for another crypto currency (Raiblocks). As at end December
                                                                                                                 2017
Ben seems to have timed his investment into Raiblocks at a very good tim e.

As a teenager, Ben wa s a/ways interested in com puters - since 2014 (when he first encouraged me to buy
                                                                                                         some
Bitcoin), Ben has been following cryptocurre ncies closely.

Ben earned his original Bitcoin when he did some end-user testing in 2016 and 2017 for an on-line company
                                                                                                                and got
paid in Bitcoin (termed a 'Bounty' pay out) - see attached screenshot as evidence. Ben traded the currency
                                                                                                             on
various exchanges - owing to the meteoric rise in the value of Bitcoin (and Ben's successful trading) Ben built
                                                                                                                up
nea rly $2000 in Bitcoin as at early Dec 2017.

In Dec 2017 Be n bought 4960 Raiblocks ($XRB) with almost all his Bitcoin. He bought the Raiblocks at an average
price of around 30 cents ($0.30).

This is looking like an astute purchase - as at the end of Dec, the Raib/ocks are showing a significant paper
                                                                                                                profit.



htt ps://live.blockcyp her. com/ btc/ tx/ 2b70cdc5872 bf12 223 96cc148f6cefa43 d8832 7253e0493cl 6b 2a9d 3aa
                                                                                                            7a763 d/




                                                          ll!C3




                      •

                      •
                      c:tCI


---                                                                   ---- ----
                                                                                             Thompson000292
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                                           17
            "EXHIBIT G" - 8
Ed THOMPSON

From:                               Ben <OSbthompso11@9n1.1ll.com>
Sent:                               18 January 2018 13:43
To:                                 Ed TflOMPSON
Subject:                            Re: Things


Yeah we saw a bit of a run down when all the stops at $10k were hit.

Not sure on a target yet though.
On Thu, 18 Jan 2018, 13:38, <edthornpson@hsbc.com> wrote:

 Ben,




 Looks like things are all back on track! It is almost unheard of for a company share to drop by 25% and then
 bounce back the very next day. With the stockmarket - once it falls like that, it's over.




 The bounce back that we are seeing is astonishing (in any world outside crypto).




 Anyone with auto sell orders/stop-loss orders on BTC would have been wrecked. All the orders will be closed and
 no-one will be setting new ones any time soon - why would you if it is going to bounce back again?




 There could be some bad news (eg banning exchanges/regulation etc) but failing that, we should be OK for a little
 while. I am still not convinced the node stuff has been fixed to the satisfaction of Binance. Hope I am wrong about
 that as there is loads of positive Raiblocks stu.ff happening.




 You need to set a figure to get out though - eg at £120k sell £100k and play with the rest?




 Regards.




 Ed Thompson

 Product Manager, WIPP, HSBC BANK PLC HBEU
 2nd Floor Forum One Parkw,iy VVhrteley, Hampshire PO IS 7PA, Unrled Kingdom




 Mobile 07827 356 383

 Email     edthompson@hs_bc; corn
                                                                                                   Thompson000295
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I   "EXHIBIT G" - 9


        Ed THOMPSON

       From:                             Ed THOMPSON
       Sent:                             10 January 2018 09:15
       To:                               Ben
       Subject:                          trade

       Classifi cation:                  INTERNAL


      Ben,


      With Raiblocks holding up well during this BTC dump, just
                                                                sell a chunk as planne d.
      S25, S28 $30 - it all makes no odds.



      We can get it out tonight

      Ed Thomp son
      Product Manager, WlPP HSBC BANK PLC HBEU
      2nd Floor Forum One Parkway, VVhiteley, Hampshire P015
                                                               7PA, United Kingdom
      Mobile 07827 356 383
      Ema1L edthomoson@hsbc.com
      Sustainability Champion




                                                                                            Thompson000298
I
    Case No. 1:21-cv-01382-GPG-NRN Document 97-7 filed 07/20/23 USDC Colorado pg 11
      "EXHIBIT G" - 10
             Ed TH OM PSO N
                                        of 17
                                                                                                                                        -
            From:
                                                  Ben <05btho111pso11(ru9111;iil.com
            Sen t:                                                                   ,
                                                  0,1 J.:rnu;iry 201 8 I 3: 19
            To:
                                                  Ed THOMPSON
            Subject:
                                                 Re llun gs


           I with dre w 0.5 wor th which
                                         is 200XHB meaning it is still goin
                                                                           g to take 3 days to with dra w It
                                                                                                             all.

           On Thu, 4 Jan 201 8, 10:4 2, <ed
                                            thom pson@ hsbc.com>            wro te:
            Ben ,




           1 leh    my pho ne at hom e so no bloc
                                                  kfolio access toda y ®




           A cou ple of things:




          1: than ks for sort ing out the sell
                                               ing yes terd ay - I feel muc h hap
          stu ff. Even bou ght a Costa coff                                       pier kno wing I have mad e a real
                                            ee toda y as I felt flush.                                              pro fit from this

          2: Raiblocks: Can you with dra w
                                            ano the r 0.5 BTC from the that
         ava ilab le on the larg er exchang                                 crum my exchange for me? Wh
                                           e, I wan t to be able to mov e quic                                  en/ if it becomes
         into Trezor.                                                          kly. Eg whe n/if it hits $89 to mov
                                                                                                                   e mos t to BTC and




         Ma ny than ks




        Ed Tho mp son

        Product Manager, WIPP, HSBC
                                       BANK PLC HBEU
        2nd Floor, Forum One . Parkway
                                      , Whiteley, Hampshire PO15 7PA
                                                                     , United Kingdom



       Mob ile: 07827 356 383

       Email.   edth omp son @h sbc.com

       Sus tain abi lity Cha mp ion




                                                                                                          Thompson000302
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                                            of 17
           "EXHIBIT G" - 11
Ed THOMP SON

From:                              Ed THOMPSON
Sent:                              11 December 2017 12:29
To:                                Ed THOMPSON
Subject:                           Ben Thompson cryplo

Classification:                    INTERNAL



In 2016 and 2017 Ben did some freelance End User testing. There are few sites on
                                                                                   the internet where they want
people with good English language skills and computing skills to navigate a website
                                                                                    and make video of how they
navigated it and provide any feedback. For a teenager, the pay is quite good. They
                                                                                   often pay in bitcoin. Ben ended
up with 0.2 bitcoin - at the time this was worth around £140.

Ben then bought and sold the bitcoin on exchanges - trying to increase its value.
                                                                                  He wasn't hugely successful and
ended up with roughly the same amount of bitcoin.


However, during 2017, the value of bitcoin increased considerably. By early Decembe
                                                                                    r 2017, 0.2 bitcoin was worth
£2000.

Ben then bought some Ra iBlocks crypto currency (using around 0.1 of the bitcoin).
                                                                                   He bought it in two tranches with
the average price around 20 cents. Ben is hoping that it will rise in price.




Ed Thompson
Product Manager, WIPP, HSBC BANK PLC HBEU
2nd Floor, Forum One, Parkway, Whiteley, Hampshire P015 7PA, United Kingdom

Mobile: 07827 356 383
Email: edthompson@hsbc .com
Sustaina bility Champio n




                                                                                           Thompson000303
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              "EXHIBIT G" - 12
   Ed THOMPSON

  From:                                  Ed THO MPSON
  Sent:
                                         11 December 2017 09:55
  To:                                    Ed THO MPSON
  Subj ect:                              Bitcoin histo ry

  Clas sific ation :                    INTERNAL




 On Nov 23 2014 , I boug ht £1064 wort
                                       h of bitcoin (4.Scoin at £236.46) all via
 curre n t acco unt                                                              Coinbase and a transfer from my HSBC


 On June I 2017 I t ransferre d anot her
                                          £1000 from my HSBC curre nt acco unt
 t his fo r bitco in on June 21 st 2017 .                                      to Coinbase and bought Ethe rium , I sold


 As a resu lt of vario us 'aird rops' eg sellin
                                                g t he 'free' bitcoin cash and Bitcoin gold
 Dec 2017 , I has 8.27 bitco in in my main                                                  and the Ethe rium profi ts, by start
                                                port folio .              ·


I boug ht anot her 5.76 bitco in on
                                    Sept 1 and Sept 4 2017 via trans fer of
                                                                            £21,000 from my HSBC Current Account
Coinbase .                                                                                                       to

I tran sferr ed my bitco in to my off-l ine
                                            wall et (out of Coin base ), leaving 0.Sbitcoin
                                                                                            in Coinbase.
On Dec 11, I boug ht Raiblox with 0.5
                                      bitco in - 8075 units

Posi tio n as at 11 Dec:

Coin base _ zero , but wait ing for the
                                        0.5 BitcoinCash(worth approx. £521 but
                                                                               only due at end of Dec 2017).
13.69 bitco in in offlin e wall et
RaiBlocks - 8075 units in offline wall
                                        et

Ed Thompson
Prod uct Mana ger, WIPP , HSBC BAN
                                    K
2nd Floor, Foru m One, Parkway, \Nhite PLC HBEU .                .     .
                                      ley, Hampshire P015 7PA, United Kingd
                                                                           om
Mob ile: 0782 7 356 383
Ema il : edth ompson@ hsbc.com
Sus taina bility Cha mpio n




                                                                                                      Thompson000304
Gmail - Fwd: Case No.Bitcoin
             Upcoming 1:21-cv-01382-GPG-NRN
                             Forks                    Document 97-7      filed 07/20/23 USDC Colorado pg 14
                                                                 https://mail.google.com/mail/u/0/?ik=e73f804958&view=pt&search=a ...
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               Gmail                                                            Ben Thompson <05bthompson@gmail.com>



        Fwd: Upcoming Bitcoin Forks
        1 message

        Ed Thompson <thompson .ed@gmail.com>                                                           25 October 2017 at 07:17
        To: Ben thompson <05bthompson@gmail.com>

         ---------- Forwarded message ----------
         From : "Coinbase" <no-reply@updates.coinbase.com>
         Date: 24 Oct 2017 20:48
         Subject: Upcoming Bitcoin Forks
         To: <thompson.ed@gmail.com>
         Cc:



                                                             Coinbase




                                Dear Edward James,

                                We wanted to give you an update on two upcoming Bitcoin
                                forks-Bitcoin Segwit2x and Bitcoin Gold. You can read more
                                about what a digital currency fork is here and see our prior
                                update here.

                                We operate by the principle that our customers should benefit to
                                the greatest extent possible from hard forks or other unexpected
                                events. This is essential in our mission to make Coinbase the
                                most trusted , safe, and easy-to-use digital currency exchange.

                                Bitcoin Segwit2x

                                The Bitcoin Segwit2x fork is projected to take place on November
                                16th and will result in two bitcoin blockchains. Following the fork,
                                Coinbase will continue referring to the current bitcoin blockchain
                                as Bitcoin and the forked blockchain as Bitcoin2x.

                                Any customer with a Bitcoin balance on Coinbase at the time
                                of the fork will be credited with an equal amount of the
                                Bitcoin2x asset on the Bitcoin2x blockchain. No action is
                                required-we will automatically credit your account. So, if
                                you have 5 Bitcoin stored on Coinbase before the fork; you will
                                have 5 Bitcoin and 5 Bitcoin2x following the event.

                                For more information about Bitcoin2x please see our FAQ
                                page and our blog post for a detailed timeline of events.

                                Bitcoin Gold

                                The Bitcoin Gold fork occurred on October 23rd . Information
                                about this fork has been limited and there are concerns about its
                                security and stability. As a result, we do not believe it is safe to
                                allow support for Bitcoin Gold at this time. If the blockchain
                                                                                                          Thompson000068


I of2                                                                                                                   18/08/2022, 14: 17
Gmail - Fwd: Case No.Bitcoin
             Upcoming 1:21-cv-01382-GPG-NRN
                             Forks                  Document 97-7      filed 07/20/23 USDC Colorado pg 15
                                                               https://mail.google.com/mail/u/0/?ik=e73f804958&view=pt&search=a ...
                                                         of 17
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                                proves to be secure and valuable, Coinbase may choose to
                                support it.

                                For more information about Bitcoin Gold please see our FAQ
                                page.

                                Over the coming weeks, we will keep you updated on this event
                                through our blog, status page and twitter.

                                Thank you,
                                Coinbase Team




        Unsubscribe from these emails




                                                                                                    Thompson000069


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FD-302 (Rev. 5-8-10)                                                                                                                                 Document participants have digitally signed.
                                                                                                                                                     All signatures have been verified by a
                                                                                                                                                     certified FBI inf0ffl1ation system

                                                  FEDERAL BUREAU OF INVESTIGATION




                                                                                                                          Date of entry       03/12/2021



              On 3/11/2021, a reliable FBI source provided information for the username
        "JamesandJohn".                    This is a username provided as an aka for Benedict
       Thompson, one of the main subjects in the UK investigation and joint
       operation for captioned case.

             • On February 25, 2018, a deposited Bitcoin (BTC) funds into a newly
               created Bitfinex account, and attempted to withdraw all their funds
               using a high risk privacy coin, Morrero (XMR), indicative of flow through
               activity to obscure the origin of the funds. Furthermore, the user was
               implicated by another user (username: Drewski; email:
                                            for BTC theft. The victim also highlighted a
               second account (username: jamesandjohn; email: annaadmams12@gmail.com)
               that was also operated by the same perpetrator and also received stolen
               funds and had the same account activity. The suspected predicate offense
               is theft through malware, and the user's activity is consistent with the
               placement stage of money laundering.
             • In the first account under username "thp2pk", 2 BTC deposits were made
               on February 25, 2018 (deposit address
               3CWQ5d2XgCrYuz7F3g4fmhd6VQMv4iPio7), totaling 16.4552 BTC (approximately
               $234,585.33 USO equivalent) into their newly created Bitfinex account.
               Within 30 minutes of deposit, the user converted the funds into XMR and
               withdrew all their funds. In the second account under username
               "jamesandjohn", 2 BTC deposits were made on November 21, 2017 (deposit
               address: 1Gqt6RTk7bj9hg6wD3rPM51HsFEQHcrGsc) totaling 0.536 BTC
                (approximately $9,992.11 USO equivalent) into their newly created
               Bitfinex account. Both users have similar IP addresses, and are
               utilizing anonymous account features including temporary/encrypted email
               services and Virtual Private Network (VPN). Both accounts activity was
               reviewed on November 21, 2017 and on February 25, 2018.
             • On October 20, 2018, another user of Bitfinex stated that someone had
               stolen their funds through transaction
               a6db589147ec24d3d97acf244ac957cbfaeaf145d04c06ec57d782a62c365169 with
               the stolen funds being deposit into address
               3CWQ5d2XgCrYuz7F3g4fmhd6VQMv4iPio7. The deposit address was revealed to
               belong to an account registered under the username "thp2pk". The victim
               stated that they had a copy of the malware that was used to steal the




                                                 Loveland, Colorado, United States (, Other (Reliable Source
   Investigationon     03/11/2021           at   Information))
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   ~    Kiersten E. Hitchcock
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                         (U) FBI Source Information for usernarne
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            funds from their PC private wallet, and that it contained 195k bitcoin
            addresses that belongedto the thief. They also revealed that these
            addresses had also sent stolen funds to address
            1Gqt6RTk7bj9hg6wD3rPM51HsFEQHcrGsc, which was revealed to belong to an
            account registered under the username "jamesandjohn".
          • A transactional analysis of both accounts revealed that both accounts
            converted the deposited funds into Morrero immediately upon receipt, and
            withdrew the funds to the following XMR addresses:
                046feypFtVlyX2BzzdS9ggz71KfzkRcY72j9tDdXcayxZ207EXew92XnYAGn9DdatTHePYVvlkXH2
                044nUbfxaFUC42KHPm4sSy4KLVeGsHjcgHVJwlqDBpx6EZvqN9iyCpZL6ajMV2ddYPA4JhzP2E6al




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